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                   Exhibit “DD”
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                                                             DECLARATION
                                                        Case No. : 19-42834, 20-04037




Kathy Shelton, certifies and declares as follows:

1. I am over the age of 18 years and not a party to this action.

2. My business address is 14800 Frye Road, Fort Worth, Texas 76155.

3. I am a Transactions Specialist III and Custodian of Records for JPMorgan Chase Bank, N.A. (hereinafter referred to as the "Bank") in
the National Subpoena Processing Department located in Fort Worth, Texas.

4. Based on my knowledge of the Bank's business records practices and procedures, the enclosed records are a true and correct copy of the
original documents kept by the Bank in the ordinary course of business.

5. Based on my knowledge of the Banks's business records practices and procedures, the records were made at or near the time of the
occurrence of the matters set forth in the records by, or from information transmitted by a person with knowledge of those matters.

6. It is the regular practice of the Bank to make such a record of transactions in the ordinary course of business.

7. Total page count is 568 .

I declare under penalty of perjury, under the laws of the State of Texas, that the foregoing is true and correct.



      8/16/2021
Dated:__________________________                         By:________________________________
                                                            _________________________

                                                          Kathy Shelton
                                                          Transactions Specialist III
                                                          JPMORGAN CHASE BANK, N.A.




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                                                                                     Subp74a
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